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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11   DANIEL A. BORSOTTI,                        Case No. CV 15-04112 JAK (AFM)
  12
                          Plaintiff,
                                                  JUDGMENT
  13
             v.
  14
       STATE OF CALIFORNIA, et al.,
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  16                      Defendants.

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  18         Pursuant to the Court’s Order Accepting the Report and Recommendation of
  19   the United States Magistrate Judge,
  20         The following IS ORDERED AND ADJUDGED:
  21         (1) The action is dismissed with prejudice as to the federal claims asserted
  22   against: (i) the Judicial Defendants -- the Honorable Melvin Sandvig, the Honorable
  23   Michael O’Gara, the Honorable Carol Koppel, the Honorable Jeffrey M. Harkavy,
  24   the Honorable Martin R. Gladstein, the Honorable Susan K. Weiss, the Honorable
  25   Sharon Lewis Miller, and the Superior Court of California, County of Los Angeles,
  26   erroneously sued as Superior Court of California San Fernando Court, Chatsworth
  27   Court, Van Nuys Court, Antelope Valley Court; and (ii) Christine Whitaker;
  28         (2) The action is dismissed without leave to amend but without prejudice as
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   1   to: (i) the federal claims asserted against the City Defendants Luis Farfan, Marisol
   2   Landeros and Christopher Vege; (ii) the federal claims asserted against Chris
   3   Smith; (iii) the claims for injunctive and declaratory relief; and (iv) the state law
   4   claims.
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   6   DATED: May 16, 2016
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                                                    JOHN A. KRONSTADT
   9                                           UNITED STATES DISTRICT JUDGE
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